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       EXHIBIT A
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                                                                                                                                            HMC732LC4B
                                                                             v02.0514

                                                                           WIDEBAND MMIC VCO WITH BUFFER AMPLIFIER
                                                                                                          6 - 12 GHz


                      Typical Applications                                                                        Features
                      Low Noise wideband MMIC VCO is ideal for:                                                   Wide Tuning Bandwidth
                      • Industrial/Medical Equipment                                                              Pout: +1 dBm
WIDEBAND VCOS - SMT




                      • Test & Measurement Equipment                                                              Low SSB Phase Noise: -95 dBc/Hz @100 kHz
                      • Military Radar, EW & ECM                                                                  No External Resonator Needed
                                                                                                                  Single Positive Supply: +5V @ 57 mA
                                                                                                                  24 Lead Ceramic 4x4 mm SMT Package: 16 mm²


                      Functional Diagram                                                                          General Description
                                                                                                                  The HMC732LC4B is a wideband MMIC Voltage
                                                                                                                  Controlled Oscillator which incorporates the resonator,
                                                                                                                  negative resistance device, and varactor diode. Output
                                                                                                                  power and phase noise performance are excellent
                                                                                                                  over temperature due to the oscillator’s monolithic
                                                                                                                  construction. The Vtune port accepts an analog tuning
                                                                                                                  voltage from 0 to +23V. The HMC732LC4B VCO
                                                                                                                  operates from a single +5V supply, consumes only
                                                                                                                  57 mA of current, and is housed in a RoHS compliant
                                                                                                                  SMT package. This wideband VCO uniquely combines
                                                                                                                  the attributes of ultra small size, low phase noise, low
                                                                                                                  power consumption, and wide tuning range.




                      Electrical Specifications, TA = +25 °C, Vcc = +5V [1]
                                                             Parameter                                                  Min.                Typ.                Max.                Units
                       Frequency Range                                                                                                     6 - 12                                   GHz
                       Power Output                                                                                                           1                                     dBm
                       SSB Phase Noise @ 10 kHz Offset                                                                                       -65                                  dBc/Hz
                       SSB Phase Noise @ 100 kHz Offset                                                                                      -95                                  dBc/Hz
                       Tune Voltage (Vtune)                                                                               0                                      23                   V
                       Supply Current (Icc) (Vcc = +5V)                                                                                      57                                      mA
                       Tune Port Leakage Current (Vtune = +23V)                                                                              10                                      µA
                       Output Return Loss                                                                                                    15                                      dB
                       2nd Harmonic                                                                                                          -12                                    dBc
                       Pulling (into a 2.0:1 VSWR)                                                                                            7                                   MHz pp
                       Pushing @ Vtune= +20V, F = 12 GHz                                                                                     -85                                   MHz/V
                       Frequency Drift Rate @ 6 GHz                                                                                          0.4                                  MHz/°C
                       Frequency Drift Rate @ 12 GHz                                                                                        0.25                                  MHz/°C

                      [1] A load VSWR of ≤ 2.0:1, across the frequency range of 0.01-14 GHz, is required for proper operation.


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                                                                       WIDEBAND MMIC VCO WITH BUFFER AMPLIFIER
                                                                                                      6 - 12 GHz

Frequency vs. Tuning Voltage, Vcc = +5V                                                               Frequency vs. Tuning Voltage, T = +25 °C
                                 15                                                                                              15

                                 14                                                                                              14




                                                                                                                                                                                                    WIDEBAND VCOS - SMT
                                 13                                                                                              13




                                                                                                      OUTPUT FREQUENCY (GHz)
OUTPUT FREQUENCY (GHz)




                                 12                                                                                              12

                                 11                                                                                              11

                                 10                                                                                              10

                                  9                                                                                               9

                                  8                                                                                               8

                                  7                                                                                               7                                           4.75V
                                                                          +25C
                                                                          +85C                                                                                                5.00V
                                  6                                                                                               6                                           5.25V
                                                                          -40C

                                  5                                                                                               5
                                       0    5           10     15          20        25                                               0    5             10          15         20           25

                                                  TUNING VOLTAGE (Vdc)                                                                                TUNING VOLTAGE (Vdc)




                                                                                                      Output Power vs.
Sensitivity vs. Tuning Voltage, Vcc = +5V                                                             Tuning Voltage, Vcc = +5V
                                500                                                                                               8

                                450                                                                                                                                  +25C
TUNING SENSITIVITY (MHz/VOLT)




                                                                                                                                  6                                  +85C
                                                                                                                                                                     -40C
                                400
                                                                                                      OUTPUT POWER (dBm)




                                                                                                                                  4
                                350

                                300                                                                                               2

                                250
                                                                                                                                  0
                                200
                                                 +25C
                                                 +85C                                                                            -2
                                150              -40C

                                100                                                                                              -4
                                       0     5          10      15         20        25                                               0    5             10          15         20           25
                                                   TUNING VOLTAGE (Vdc)                                                                               TUNING VOLTAGE (Vdc)




SSB Phase Noise vs. Tuning Voltage                                                                    Typical SSB Phase Noise @ Vtune = +5V
                                 -20                                                                                              -10

                                                             10 kHz                                                               -30
                                 -40                         100 kHz                                                                                                                 + 25C
                                                             1 MHz                                                                                                                   + 85C
SSB PHASE NOISE (dBc/Hz)




                                                                                                      SSB PHASE NOISE (dBc/Hz)




                                                                                                                                  -50                                                - 40C
                                 -60

                                                                                                                                  -70
                                 -80
                                                                                                                                  -90

                                -100
                                                                                                                                 -110

                                -120
                                                                                                                                 -130


                                -140                                                                                             -150
                                       0    5           10     15          20        25                                             1e+3       1e+4           1e+5           1e+6            1e+7
                                                  TUNING VOLTAGE (Vdc)                                                                            OFFSET FREQUENCY (Hz)




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                                                                             WIDEBAND MMIC VCO WITH BUFFER AMPLIFIER
                                                                                                            6 - 12 GHz


                      Supply Current vs. Vcc, T = 25 °C                                                             Absolute Maximum Ratings
                                 65
                                                                                                                     Vcc                                         +5.5 V
                                                                                                                     Vtune                                       -1 to +25V
WIDEBAND VCOS - SMT




                                 60
                                                                                                                     Storage Temperature                         -65 °C to +150 °C
                                                                                                                     ESD Sensitivity (HBM)                       Class 1A
                                 55
                      Icc (mA)




                                 50
                                                                                                                    Reliability Information
                                                                  + 4.75V
                                 45                               + 5.00V                                            Junction Temperature To Maintain
                                                                                                                                                                     135 °C
                                                                  + 5.25V                                            1 Million Hour MTTF
                                                                                                                     Nominal Junction Temperature
                                 40                                                                                                                                  110 °C
                                      0    5            10           15          20           25                     (T = 85 °C)
                                                  TUNING VOLTAGE (Vdc)
                                                                                                                     Thermal Resistance
                                                                                                                                                                     91 °C/W
                                                                                                                     (Junction to GND paddle, 5V supply)
                                                                                                                     Operating Temperature                           -40 °C to + 85 °C




                                                                                                                                  ELECTROSTATIC SENSITIVE DEVICE
                                                                                                                                  OBSERVE HANDLING PRECAUTIONS




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                                                                                                                               HMC732LC4B
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                                                    WIDEBAND MMIC VCO WITH BUFFER AMPLIFIER
                                                                                   6 - 12 GHz


Outline Drawing




                                                                                                                                                                               WIDEBAND VCOS - SMT
                                                                                           NOTES:
                                                                                           1. PACKAGE BODY MATERIAL: ALUMINA
                                                                                           2. LEAD AND GROUND PADDLE PLATING: GOLD FLASH OVER Ni.
                                                                                           3. DIMENSIONS ARE IN INCHES [MILLIMETERS].
                                                                                           4. LEAD SPACING TOLERANCE IS NON-CUMULATIVE.
                                                                                           5. PACKAGE WARP SHALL NOT EXCEED 0.05mm DATUM -C-
                                                                                           6. ALL GROUND LEADS AND GROUND PADDLE MUST BE SOLDERED
                                                                                           	 TO PCB RF GROUND.




Package Information

    Part Number                             Package Body Material                              Lead Finish              MSL Rating             Package Marking [2]
                                                                                                                                 [1]                   H732
   HMC732LC4B                                   Alumina, White                              Gold over Nickel              MSL3
                                                                                                                                                       XXXX
[1] Max peak reflow temperature of 260 °C
[2] 4-Digit lot number XXXX




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                                                                                                                                                     HMC732LC4B
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                                                                          WIDEBAND MMIC VCO WITH BUFFER AMPLIFIER
                                                                                                         6 - 12 GHz


                      Pin Descriptions
                       Pin Number            Function                                    Description                                                 Interface Schematic
                       1 - 3, 5 - 11,                          No Connection. These pins may be connected to RF/DC
WIDEBAND VCOS - SMT




                                                N/C
                        13, 16 - 24                                  ground. Performance will not be affected.


                                                                  Control Voltage and Modulation Input. Modulation
                                                                bandwidth dependent on drive source impedance. See
                             4                 Vtune
                                                               “Determining the FM Bandwidth of a Wideband Varactor
                                                                            Tuned VCO” application note.




                            12                  Vcc                              Supply Voltage Vcc= +5V




                                                                  Package bottom has an exposed metal paddle that
                            14                  GND
                                                                         must also be RF & DC grounded.



                                                                                RF output (AC coupled)
                                                               (A load VSWR of ≤ 2.0:1, across the frequency range of
                            15                RFOUT
                                                               0.01-14 GHz, is required for proper operation.)




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                                                                                   6 - 12 GHz


Evaluation PCB




                                                                                                                                                                               WIDEBAND VCOS - SMT
List of Materials for Evaluation PCB 108648                                             [1]


Item                      Description                                                      The circuit board used in the application should
J1                        RF Connector, SMA                                                use RF circuit design techniques. Signal lines
J2                        RF Connector, SMA                                                should have 50 Ohm impedance while the package
J3                        DC Header                                                        ground leads and exposed ground paddle should
C1                        1000 pF Capacitor, 0402 Pkg.                                     be connected directly to the ground plane similar
C2                        4.7 µF Capacitor, Tantalum
                                                                                           to that shown. A sufficient number of via holes
U1                        HMC732LC4B VCO
                                                                                           should be used to connect the top and bottom
PCB [2]                   108646 Eval Board
                                                                                           ground planes. The evaluation circuit board shown
[1] Reference this number when ordering complete evaluation PCB
                                                                                           is available from Hittite upon request.
[2] Circuit Board Material: Arlon 25FR or Rogers 4350




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